      Case 1:21-cr-00286-BAH Document 93 Filed 11/09/22 Page 1 of 2



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,            )
                                     )
          Plaintiff,                 )
                                     )
v.                                   )    Case No. 1:21cr286
                                     )
JASON DOUGLAS OWENS,                 )
                                     )
          Defendant.                 )
                                     )


         JASON OWENS’ POSITION REGARDING VIDEO EVIDENCE

TO THE HONORABLE BERYL A. HOWELL, CHIEF U.S. DISTRICT JUDGE:

     Comes now the Defendant, JASON DOUGLAS OWENS, by and through

his attorney of record, and states that the video evidence

described in his Statement of Offense may be made publicly

available without restriction.


                                     Respectfully submitted,

                                     JIM DARNELL, P.C.
                                     310 N. Mesa, Suite 212
                                     El Paso, TX 79901
                                     Phone: (915)532-2442
                                     Fax:   (915)532-4549

                                     By: /s/Jim Darnell
                                         Jim Darnell
                                         jdarnell@jdarnell.com
                                         TX State Bar No. 05391250
                                         NM State Bar No. 148187

                                     Attorney for Defendant
        Case 1:21-cr-00286-BAH Document 93 Filed 11/09/22 Page 2 of 2



                         Certificate of Service

     I hereby certify that on this 9th day of November, 2022, a
true and correct copy of the foregoing instrument has been filed
with the Clerk of this Court using the CM/ECF system which will
automatically send notification of such filing to the United
States Attorney’s Office and to all parties registered for
service herein.


                                       /s/Jim Darnell
                                       Jim Darnell
101##.lad
